Case 16-24623-L|\/|| Doc 10 Filed 11/23/16 Page 1 of 45 11/23/201605;16;27pm

j Eill‘ in this information to identify your case:

  

   

 

  

Debtor1 Jorqe A|fonso Cepeda
Firsi Name Midd|e Name Last Name

Debtor 2

(Spouse, if flllng) F|rst Name Mldd|e Name Last Name

 

  
   
  

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

Case number 16-24623
(iic known)

 

 

Otfioial Form lOGSum

l:l Check if this is an
amended filing

Summary of Your Assets and Liabi|ities and Certain Statistical lnformation 12/15

 

Be as complete and accurate as poss|b|e. lf two married people are filing together, both are equally responsible for supplying
correct information Fi|| out all of your schedules first; then complete the information on this form. lf you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

'l. Schedu!e A/B.' Properi‘y (Offioia| Form 106A/B)

1a. Copy line 55, 'l'otal real estate, from Schedule AlB ..............................................................

1b. Copy line 62, Total personal property` from Schedule A!B ..................................................

lc. Copy line 63, Tota| of all property on Schedule A/B .............................................................

Summarize Your Liabilities

2. Schedu!e D: Crodi'l.‘ors Who He~./e Clar'rns Sec:ured by Properiy (Official Form 1060)

.................................... $12,730-00

Your assets
Va|ue of What you own

$0.00

$12,730.00

 

 

 

 

Your liabilities
Amount you owe

2a. Copy the total you listed in Co|umn A, Amount of clalm, at the bottom of the last page of Part l of Sohedule D ..... M,_

3. Schedu!e E/F.' Creditors Wno Have Unsecured Clar'rns (Ofilcia| Form 106E/F)

$1,311.00

 

 

 

 

 

3a. Copy the total claims irorn Part 1 (prioriiy unsecured claims) from line tie of Sohedu|e E/F
3b. Copy the total claims from Part 2 (nonprlority unsecured claims) from line Sj of Schedule EIF + $174'202-91
Your total liabilities $191»760-91

m Summarize ¥our lncome and Expenses
4. Schedule l.' Yourlncome (Officia| Form 106|)

Copy your combined monthly income from line 12 of Sohedule l ...................................................................................... $4»222'83
5. Schedule J.' Your Expenses (Offloial l:orm 106.])

Copy your monthly expenses from line 220 of Sohedule J ........................................................... $3»967-07

Oifioia| Form iOGSum

Summary of Your Assets and Liabi|ities and Certain Statist|ca| |nformation page 'l

Case 16-24623-Ll\/|| Doc 10 Filed 11/23/16 Page 2 of 45 1112312016 oszlezzrpm

 

Debtor l Jorge Alfonso Cepeda Cese number {if known) 16-24623
First Name lvlidd|e Name Lest Name

 

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

|:| No. You have nothing to report on this part of the iorm. Cheok this box and submit this form to the court with your other schedules.

|z[ Yes

7. What kind of debt do you have?

lz[ Your debts are primarily consumer debts. Consumer debts are those "lncurred by an individual primarily for a personal,
family, or household purpose." 11 U.S,C. § 101(8). Fill out lines S-Qg for statistical purposes. 28 U.S.C. § 159.

l:| Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Cheok this box and submit
this form to the court with your other schedules.

 

8. From the Statement of your Current Month.ly income: Copy your total current monthly income from
official Form 122A-i l_ine 11;0R, Form 122e time li;orz, Form 122c-l Line14. _______M

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Tota| claim

From Part 4 on Schedulle E/F, copy the following:

9a. Domestic support obligations (Copy line 6a‘) ________$9_£_9__
9b. Texes and certain other debts you owe the government (Copy line Bb.) ______M__Q..Q_
90. Clalms for death or personal injury While you were intoxicatedl (Copy line 60.) ___..M
9d. Student loans. (Copy line of.) ____._M
Qe. Ob[igatlons arising out of a separation agreement or divorce that you did not report as _.___M

priority claims. (Copy line Sg.)

Qt. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + _____$0_'00__
eg. rolal. Add lines 93 through ef. n $1,311-00

 

 

 

Official Form lUGSurn Summary of Your Assets and Liabilities and Certain Statistica| |nforrnation page 2

Case 16-24623-Ll\/ll Doc 10 Filed 11/23/16 Page 3 of 45 11/23/2016 oszlezzepm

Fill in this information to identify your case and"this filing_:

  
      
      
   

  

Debior 1 Jorqe _ Alfonso Cepeda
Firsl Name lvliddle Name Last Narne

   

     
       
   

Debtor 2
(Spouse. iffillng) Firsl Name M|ddle Narne LastName

 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA

(Ci?fa‘;.s:elxlnn)lber 15'24623 |:l Cheok if this is an

amended filing

 

Official Form 106A/B

Schedule AIB: Property 12/15

 

ln each category, separately list and describe ltems. List an asset only once. lf an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. if two married people are
filing together, both are equally responsible for supplying correct information. if more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest ln

1. Do you own or have any legal or equitable interest in any residence, bullding, |and, or similar property?
|§_7[ No. Go to Part 2.
g \’es. Where is the property?

 

2. Add the dollar value of the portion you own for all of your entries from Part 'l, including any
entries for pages you have attached for Part 1. Write that number here .......................... ............................ 9 _.____M

m Describe Your Vehicles

Do you own, lease, or have legal or equitable interest |n any vehicles, whether they are registered or not'? include any vehicles
you own that someone else drives. |f you lease a vehicle, also report lion Schedule G: Executory Contracts and Unexpl'red i.eases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

|:| No

|_7_[ Yes
3.1. Who has an interest in the property? Do not deduct secured claims or exemptionsl Put the
Make: Toyota Cheok one. amount of any secured claims on Schedule D.‘
Mode|: Camry E[ D@btor 1 On|y Credl'tors Who Heve Ciar'ms Secured by Properiy,
Y r' 2012 l:l Demor 2 0"|¥ Current value of the Current value of the

ea ` --__ |:| Deptor 1 and Deptor2 only entire property? portion you own?

Appmx'mate m"eage: 51 1480 l:[ At least one of the debtors and another $9,900.00 $9,900.00
Other information:
2012 Toyota Camry {approx. 51480 [:| Cheok ifthis is community property
miles] (see instructional
*Being paid outsde the chaspter13
plan*
VlN# 4T1BF1FKXCU’149966

t_ien holder Southern Automotlve Fi
Amount owed $16,247.00
Valuation as per Nada.com

4. Watercraft, alrcraft, motor homes, ATVs and other recreational vehicles, other vehiclesr and accessories
Examples.' Boats, trailers. motors, personal watercraft fishing vessele, snowmobiles. motorcycle accessories

|z[ No
l:| Yes

Official Form 106A/B Schedule AlB: Property page 1

Case 16-24623-Ll\/ll Doc 10 Filed 11/23/16 Page 4 of 45 11/23/201605;16;23pm

 

 

Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name Middle Name Last Name
5.

 

Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that number here .............. . .......................................... ') ____M

 

 

 

m Describe Your Personal and Household items

Curr t lue of
Do you own or have any legal or equitable interest in any of the following items? en Va the

10.

11.

12.

13.

portion you own'i'
Do not deduct secured
claims or exemptions

Household goods and furnishings
Exampfes.' l\flajor a|:)p|iancesl furniture, linens, chinal kitchenware

|:| No

|J Yes. Describe ..... Furniture Description: $1,025.00
sofas, loveseats, coffee tables, end tables, dining table, chairs, chair, desk,
beds, dressers, night tables, drawer stands, and any other miscellaneous
furniture.

E|ectrorlics

Examples: `l'elevisions and radios', audio, video, stereo, and digital equipment; computers, printersl scanners;
music collections; electronic devices including cell phones, cameras, media players, games

ij No
|?_[ Yes. Describe ..... Electronics: _____”M_
Televislons, printer, computer.

Coliectibles of value

Examp!es.' Antiques and flgurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stampl coin, or baseball card collections; other oollections, memorabilia, collectibles

|:| No

|z[ Yes. Describe ..... Decorationg; $250.00
Picture Frames, Table Lamps, Figurines, and any other miscellaneous
decorative items,

Equipment for sports and hobbies

Exampies: Sports, photographic exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

w No
m Yes. Describe .....
Firearms
Examples: Pistols. rifles, shotguns, ammunition, and related equipment
|Z[ No
|:] Yes. Describe.....
C|othes
Exampies.' Everyday clothes, furs, leather coats, designerwear, shoes, accessories
l:| l\lo
E[ Yes. Describe..... Clothing $110.00
Jewelry
Examples: Everyday'jewelry, costume jewelry, engagement rlngs, wedding rings, heirloom jewelry, watches, gems,
gold, silver
|:| No
|Z[ Yes. Describe ..... Jewelry: $250.00

2 watches and any other costume jewelry.

Non-farm animals
Exarnples.' Dogs, cats, birds, horses

|Z|No

[:| Yes. Describe.....

Officia| Form 106)'-\:'B Schedule A.'B: Property page 2

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11/23/2016 05:16:2Bpm

 

Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
Flrst Name Middle Name Lasi Name

14. Any other personal and household items you did not already list, including any health aids you

15.

did not list

[Z[ No
|:| Yes. Give specific
information .............

Add the dollar value of all of your entries from Part 3, including any entries for pages you have

attached for Part 3. Write the number here ........................................................................................................ ')

m Describe Your Financia| Assets

Do you own or have any legal or equitable interest in any of the following?

16.

17.

18.

19.

20.

21.

 

 

$2,585.00

 

 

Current value of the
portion you own‘?

Do not deduct secured
claims or exemptions.

Cash
Examples: Nloney you have in your wallet in your home, in a safe deposit box, and on hand when you file your
petition
|'_'| No
|z[ Yes .................................................................................................................................... Cash: $95.00
Deposits of money
Exampies.‘ Checking, savings or other financial accounis; certificates of deposit; shares in credit unions
brokerage houses and other similar institutions if you have multiple accounts with the same
institution, list each.
l:| No
[Z[ res institution name:
17.1. Cheoking account: TD Bank Aocount #5594 $150.00

 

Bonds, mutual funds, or publicly traded stocks
Exam,cies: Bond fundsl investment accounts with brokerage firms, money market accounts

gun

g Yes lnstitutionorissuername:

Non-publlciy traded stock and interests in incorporated and unincorporated businesses including
an interest in an Li_C, partnership, and joint venture

m No
|:| Yes. Give specific
information about

them Name of entity: % of ownership:

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotl'ab!e instruments include personal checks cashiers' checks promissory notes, and money orders
Non~negolr'ab!e instruments are those you cannot transfer to someone by signing or delivering them.

E[ No
Yes. Give specific
information about
them .......................... issuer name:

Retirement or pension accounts

Examples: interests in lRA, ER|SA, Kecgh. 401(i<), 403(b), thrift savings accounts or other pension or
profit-sharing plans

m No
|:| ¥es. List each
account separately. Type of account institution name:
Official Form 'lGBAfB Schedule AiB: Property

page 3

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Debtor1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name Middie Name i.ast Name
22. Securlty deposits and prepayments

23.

24.

25.

26.

27.

lllloney or property owed to you?

28.

29.

30.

Your share of all unused deposits you have made so that you may continue service or use from a company

Exampfes.' Agreements with landlords prepaid rent public utilities (electric, gas water), telecommunications
companies or others

El No

|:] Yes ............................ institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
m No

[:] Yes ............................ issuer name and description:

interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(‘l), 529A(b), and 529{b)(1)4

|z[ No

ij Yes institution name and description Separately file the records of any interests ii U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit

|z| No
m Yes. Give specific
information about them

Patents, copyrights, trademarks trade secrets, and other intellectual property;
Exampfes: lnternet domain names websites. proceeds from royalties and licensing agreements
|Z| No

Yes. Give specific

information about them

Licenses, franchises and other general intangibles
Exampfes.' Bui|ding permits exclusive licenses cooperative association holdings liquor licenses professional licenses
|z[ No
|:| Yes. Give specific
information about them

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

Tax refunds owed to you

|Z| No

|:| Yes. Give specific information Federal'. $0.00
about them, including whether
you already filed the returns State: _____§.Q.L

and the tax years...................... Loca|: $0.00

Fami|y support
Exampies: Past due orlump sum alimony, spousal support, child supportl maintenancel divorce settlementl property settlement

[T_{]No

ij Yes. Give specific information Alimony: $0.00
l\/laintenance: $0.00
Support: $0.00
Divorce settlement $0.00
Property settlement $0.00

Other amounts someone owes you
E)ram,oies: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay. workers‘
compensation, Socia| Security benefits; unpaid loans you made to someone else

LV_[NO

|:] Yes. Give specific information

Official Form iOGAr'B Schedule AIB: Property page 4

Case 16-24623-Li\/|| Doc 10 Filed 11/23/16 Page 7 cf 45 11/23/2016 eeziezzepm

 

 

Debtor 1 JOrge Alfonso Cepeda Case number (if known) 16-24623
First Name |viidd|e Name Last Name

31. interests in insurance policies
Examp!es: i~lealth. disability, or life insurance; health savings account (HSA); credit, hcmeowner's. or renter's insurance
|_7_] No `
|:] Yes. Name the insurance
company of each policy

and list its value..............., Company name: Beneficiary: Surrender or refund value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary ofa living trust, expect proceeds from a life insurance poiicy, or are currently
entitled to receive property because someone has died

|Z[No

|“_`| Yes. Give specific information

33. Ciaims against third parties whether or not you have filed a lawsuit or made a demand for payment
Exampies.' Accidents employment disputes insurance claims or rights to sue

|z|No

|:| Yes. Describe each claim ........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

|ZINO

|:] Yes. Describe each claim ........

35. Any financial assets you did not already list

E[No

i___| Yes. Give specificinfcrrnaticn

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here.... ................................................................................................... 9 ___+$ZF_M

 

 

 

mescribe Any Business»Related Property You Own or Have an interest in. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

|Z] No. Gc to Part 6.
m Yes. Go to line 38.

Current value of the
portion you own'?
Do not deduct secured

claims or exemptions
38. Accounts receivable or commissions you already earned

|Z[No

|:! Yes. Describe..

39. Office equipment, furnishings and supplies
Exampies.' Business-related computers software. modems, printers copiers fax machines rugs telephones
desks chairs electronic devices

|Z[No

|:| Yes. Describe..

40. N|achinery, fixtures equipment, supplies you use in business and tools of your trade

|Z[No

ij Yes. Describe..

41 . inventory

|§_F[No

|:| ‘(es. Describe..

Official Form 106.»'-\/5 Schedule AiB: Property page 5

Case 16-24623-Li\/|| Doc 10 Filed 11/23/16 Page 8 cf 45 mize/2016 05:16:2spm

 

 

Debtor 1 Jorge _ Alfonso Cepeda Case number (if known) 16~24623
Firsl Name Middie Name Lasl Name

42. interests in partnerships or joint ventures

|z[ No

[:| Yes. Describe..... Name of entity: % of ownership:
43. Customer lists mailing lists or other compilations

|z[No

|:| Yes. Do your lists include personally identifiable information (as defined in ‘l'l U.S.C. § 101(41A))?

|:] No
|:| Yes. Describe .....

44. Any business-related property you did not already list

|Z[No

|:| Yes. Give specificinfcrmation.

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here ....................................................................................................... 9 _____M

 

 

 

  

Part 6: Describe Any Farm and Commercial Fishing- -Related Property You Own or Have an interest in.
t \ . if you own or have an interest' ln farmiand, list it in Part 1

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

|z[ No. Gc to Part 7.
|:| Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured

claims or exemptions
47. Farm animals

Exampies.' Livestoc|<, poultry, farm-raised fish

|z[ No
[___| Yes....

48. Crops~-either growing or harvested

|Z[ No
|:] Yes. Give specific
information ................

49. Farm and fishing equipment, implements machinery, fixtures and tools of trade

|z[ No
|:] Yes....

50. Farm and fishing supplies chemicals and feed

EZ[ Nc
|:] Yes....

51. Any farm- and commercial fishing-related property you did not already list

|Z[ No
|:| Yes. Give specific
information ................

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have ‘
attached for Part 6. Write that number here 9 _____.M

 

 

 

Officiai Form 106Al'l3 Schedule AlEi: Property page 6

Case 16-24623-Li\/|l Doc 10 Filed 11/23/16 Page 9 cf 45 nms/2016 careest

 

 

Debtor 'l Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name Middle Name Last Name

Wscribe Ai| Property You Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already |ist?
Examples.' Seascn tickets country club membership

MNo

|:] Yes. Give specificinfcrmation.

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ............................................. 9 __.__._$.;09_

 

 

 

List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ................................. . ................................................................. . .......................... "') $0.00

_'-__`

56. Part 2: Total vehicles, line 5 $9!900.00

 

 

 

 

57. Part 3: Total personal and household items line 15 $2,585.00
58. Part 4: Total financial-assets line 36 $245.00
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
Copy personal
62. Total personal property. Add lines 56 through 61 .................. $12,730.00 property total -) + $12,730.00

 

 

 

 

63. Total of ali property on Schedule AIB. Add line 55 + line 62 ................................................................................ $12!730.00

 

 

 

Officiai Form 106A/B Schedule Ale Property page 7

CB_S€ 16-24623-Ll\/|| DOC 10 Fli€d 11/23/16 PB_Q€ 10 Oi 45 11/23/201605:16:2Bpm

Fii| in this information to identify-your case:"

         
         
 
     
 

  

Debtor 1 Jorqe Alfonso Cepeda

 

 

First Name |`vliddle Name Last Name
Debtor 2
(SpOuSe, if filing} Flrsi Name ivllddle Name Last Name
United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA

 

|:| Cheok if this is an
amended filing

  

 
      

Case number
(if known)

16-24623

Officia| Form 1060
Schedule C: The Property \’ou Claim as Exempt 04116
w

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for suppiying correct information.
Using the property you listed on Schedule A/B: Property (Officia| Form 106AiB) as your source. list the property that you ciaim as exempt if more

space is needed, fill cut and attach to this page as many copies of Part 2.' Addifional Page as necessary. On the top of any additional pages
write your name and case number (if known)

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatlve|y, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids rights to
receive certain benefits and tax~exempt retirement funds--may be unlimited in dollar amount. Hovvever, if you claim an
exemption of100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption wouid be limited to the applicable statutory amount.

m identify the Property You Clalm as Exempt

1. Which set of exemptions are you claiming‘? Cheok one only, even ifyour spouse is filing with you.

M You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
|:] You are claiming federal exemptions 11 U.S.C. § 522{b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Cheok only one box for

 

Schedule A/B each exemption
Brief description: $1,025.00 |Z[ $1,000.00 Fia. Const. art. X, § 4(a)(2)
Furniture Description: |:| 100% of fair market
sofas loveseats coffee tables end tables value, up to any
dining table, chairs, chair, desk, beds applicable statutory
dressers night tables drawer stands and limit

any other miscellaneous furniture.
(1 st exemption claimed for this asset)
l_ine from Schedule A/B: 6

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01!19 and every 3 years after that for cases filed on or after the date of adjustment.)

m No
|:| Yes. Did you acquire the property covered by the exemption Wlthin 1,215 days before you filed this case?
[:| No
[:| Yes
Official Form 1060 Schedule C: The Property Vou Clalm as Exempt page 1

Case 16-24623-Ll\/|| DOC 10 Filed 11/23/16 Page 11 0145 11/23i201605:16:2spm

 

 

 

Debtor 1 JOrge Alfonso Cepeda Case number (if known) 16-24623
First Name iviiddie Name Last Name
mcdowell Page
Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Cheok only one box for

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B each exemption
Brief description: $1,025.00 |Z| $25.00 Fla. Stat. Anrl. § 222.25(4)
Furniture Description: |:| 100% affair market
sofas, loveseats, coffee tables, end tables, value. up to any
dining table, chairs, chair, desk, beds, applicable statutory
dressers, night tables, drawer stands, and iimii
any other miscellaneous furniture.
(2nd exemption claimed for this asset)
Line from Schedule A/B: 6
Brief description: $950.00 |Z[ $950.00 F|a. Stat. Ann. § 222.25(4)
Eiectronics: |:| 100% of fair market
Teievisions, printer, computer. value, up to any
Line from Schedule A/B: 7 appiicabie SiaiUiOW
'__ limit
Brief description: $250.00 M $250.00 F|a. Stat. Al'ln. § 222.25[4)
Deccrations: m 100% of fair market
Picture Frames, Table Lamps, Figurines, valua, up to any
and any other miscellaneous decorative applicable statutory
items. limit
Line from Schedule A/B.' 8
Brief description: $110.00 |Zl $1‘|0.00 F|a. Stat. Ann. § 222.25{4)
Clothing [:] 100% affair market
Line from Schedule A/B: 11 Va|u_e’ up to any
_"_ applicable statutory
limit
Briefdescription: $250.00 [f[ $250.00 F|a. Stat. Ann. § 222.25(4}
Jewelry: |:| 100% of fair market
2 watches and any other costume jewelry. value, up to any
Line from schedule A/s.~ 12 applicable Sfaiuiory
limit
Brief description: $95.00 |_7_[ $95.00 F|a. Stat. Ann. § 222.25{4}
Cash money |`_`| 100% of fair market
l_ine from Schedule A/B.' 16 valu?’ up to any
_* applicable statutory
limit
Brieid€SCFiDiiOiif $150.00 |§_7| $‘150.00 F|a. Stat. Ann. § 222.25{4}
TD Bank Account #5594 [:| 100% affair market
Line from Scheduie A/B.' 17.‘1 Va|u?’ up to any
_ applicable statutory
limit

 

Off'icial Form 1060 Schedule C: The Property You Clalm as Exempt page 2

Case 16-24623-Ll\/|| DOC 10 Filed 11/23/16

Fill in this information to identify your case':

  
      
       
  

  

Dabtor 1 Jorqe Alfonso Cepeda
First Name - ivliddle Name Last Name

 

  
 

Debtor 2
(Spouse, iffi|ing) F|rsi Name rviiddie Name LastNams

 

  
     
 
 
 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA
16-24623

   
 

   

Case number
(if known)

 

Officiai Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

 

Page 12 of 45

11123."2016 05:16:29pl'n

I:I Cheok if this is an
amended filing

 

1211 5
Be as complete and accurate as possibie. iftwo married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, Write your name and case number (if known).
1. Do any creditors have claims secured by your property'?
|:| No. Cheok this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.
|_7_[ Yes. Fill in ali ofthe information below.
List Ai| Secured Clalms
2. List ali secured ciaims. if a creditor has more than one secured k _ _ _ __
ciairn, list the creditor separately for each claim. if more than one gorman A _ ¢Oiqmn`g; g Co,'um,»`,. `C
creditor has a particular claim, list the other creditors iri Part 2. As A`m`¢un'¢ of claim 7 -Va`iue.pf ¢o||arerai Unsecured
much as possib|e, list the claims in alphabetical order according to the Dq noi`deduci they ._fhat_'$up'p°rts this po`rt;on _
creditor's name. value of collateral ` claim - ` if any -' - 7
2_1 Describe the property that
- Secures the Claim: $16,247.00 $9,900.00 $6,347.00

 

Southern Automotive Fi
creditors name 2012 TOyOta Camry

2901 Wm Oakiand Park Bivd

Numbel' Street

 

As of the date you file, the claim is: Check ali that apply.

 

|:| Contingent

Fort Lauderdaie FL 33311 m Unliquldated

city stats ziP code m Disputed

Wh° owes the debt? Cheok °ne' Nature of lien. Cheok ali that appiy.
|:| Debtorl only

|:| Debtor 2 only

|:| Debtor 1 and Debtor 2 only

Judgment lien from a lawsuit
|:| At least one of the debtors and another i:|

[Z[ Other (including a right to offsel)
|:| Cheok ifthis claim relates Autornobile
to a community debt

[z[ An agreement you made (such as mortgage or secured car ioan)
m Statutory lien (such as tax iien, mechanic's iieri)

 

 

 

 

 

 

Date debt was incurred 11;2015 Last 4 digits of account number 1 2 t] 1

Add the dollar value of your entries in Co|umn A on this page. Write

that number here: ____MM_.
if this is the last page of your form, add the dollar value totals from

ali pages. Write that number here: __$'iM_-(.__O_O_
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property

page 1

Case 16-24623-Li\/|| Doc 10 Filed 11/23/16 Page 13 of 45 11/23/201605;16;29pm

j Fill in this information to identity your-cases

          

  

Debtor1 Jorcie Alfonso Cepeda
First Name Mldd|e Name Last Name

      
  

  
 

Debtor 2
(Spouse, if filing) First Name iviicldie Name Last Name

 

   
     
 
 
 

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA
16-24623

   

Case number
(if known)

  
 

|:| Cheok if this is an
amended filing

 

Official Form 106E/l'-“

Schedule EIF: Creditors Who Have Unsecured C|aims 12l15

 

Be as complete and accurate as possibie. Use Part1 for creditors with PRiORiTY claims and Part 2 for creditors with NONPR|OR|TY
ciaims. List the other party to any executory contracts or unexpired leases that could result iri a claim. Aiso list executory contracts

on Schedule AfB: Property (Offic|ai Form 106AlB) and on Schedule G.' Executory Coni‘racts and Unexpired Leases (Officiai Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creo‘r'tors Who Hold Ciaims Secured by Property.
if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the ieft. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

List Aii or Your PRiORiTY unsecured claims

1. Do any creditors have priority unsecured claims against you?
[:| No. Go to Part 2.

[§_7| Yes.

List ali of your priority unsecured ciaims. if a creditor has more than one priority unsecured ciaim, list the creditor separately for each
claim. For each claim listed, identify What type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts As much as possib|e, list the claims in alphabetical order according to the creditor's name. if
more space is needed for priority unsecured ciaims. fill out the Cont|nuation Page cf Part 1. if more than one creditor holds a particular

ciaim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet _ _

Total claim - - .Priority - -Nonpiriority
` ` ' amount ' ` _' amount

 

2.1

 

 

 

$1,311.00 $1,311.00 $0.00
internal Revenue Service

Priority Creditor.$ Name Last 4 digits of account number l _£'_i_ 6 7

Centralized lnsolvency Operation When Was the debt incurred?
Numbei' Street

 

 

 

POB 7346 As of the date you fiie, the claim is: Cheok ali that appiy.
Phliade|phia, PA 1901 -7346 |:| Contingent
|:| Unllquldated
city state ziP code i:i D'Sputed
Who incurred the debt'? Cheok one. Type of PRiOR|TY unsecured claim;

|:| Debtor 1 only

|:| Domestlc support obligations
|“_`| Debtor2 only

E¢’_[ Taxes and certain other debts you owe the government

j:| DEiJiOF 1 and Debim 2 Oiiiy ]:| Ciaims for death or personal injury while you were
{:| At least one of the debtors and another intoxicated

j'_'_| Cheok if this claim is for a community debt m Other. Specify
is the claim subject to offset?

|Z[ No

[:| Yes

Offlciai Form 106Ei'F Schedule Ei'F: Creditors Who Have Unsecured Ciaims page 1

CaS€ 16-24623-Ll\/||

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Case number (if known) 16-24623

 

Debtor 1 Jorge Alfonso Cepeda
Firsi Name Mlddle Name Last Name

must An sr Your NoNPRloRlTY unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

i:| No. ¥ou have nothing to report in this part. Submit this form to the court with yourother schedules.

M Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
|f a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim iisted, identity what
type of claim it is. Do not list claims already included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in
Part 3. if more space is needed for nonpriority unsecured claims. till out the Continuation Page of Part 2.

 

 

4.1

2015-2 |H2 Borrower, LP
Nonpricrity Creci|tor‘s Name

cio Nlatthew E. Siegel, Esq
Number Street

 

 

 

 

 

2753 SR 580 #209

C|earwater FL 33761
C|ty State ZlP Code
Who incurred the debt? Cheok one.

|:| Debtorl only
Debtor 2 only
|:| Debtcrl and Debtor?'on|y
[:| At least one cf the debtors and another
1:| Check if this claim is for a community debt

ls the claim subject to offset?
[Z| No
L___| Yes

4.2

 

 

 

 

Acceptance Now

Nonpriority Creditor's Name

Acceptance Now Customer Service
Number Street

501 Headquarters Dr

 

 

Plano TX 75024
Clty State ZlP Code
Who incurred the debt? Cheok one.

m Debtor 1 only
Debtor 2 only
[:| Debtor 1 and Debtor 2 only
[:| At least One oi the debtors and another
[:| Cheok if this claim is for a community debt

is the claim subject to offset?
|z[ No
|:| Yes

Officia| Form 106EIF

Schedule E)'F: Creditors Who Have Unsecured Claims

 

`Tota| claim ,
$1.00
Last4 digits ofaccount number l __§_ __2__ l
When was the debt incurred?
As of the date you file, the claim is: Cheok all that apply.
[:| Contingent
[:[ Un|iquldated
ij Disputed
Type of NONPR|OR|T¥ unsecured claim:
m Student loans
|:| Ob|igatlons arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing pians, and other similar debts
|z[ Other. Specify
Lawsuit
$639.00

Last4digitsofaccountnumber 0 5 1 __9__

When was the debt incurred? 1.':!'_2"01 3 _

As of the date you file, the claim is: Cheok all that apply.

[:| Contingent
|:| Un|iquidated
|:| Disputecl

Type of NONPRlORiTY unsecured claim:
m Student loans

|:] Obllgations arising out cf a separation agreement or divorce
that you did not report as priority claims

|:] Debts to pension or profit-sharing plans, and other similar debts
|zi Other. Speclfy

Rental Agreement

page 2

CaS€ 16-24623-Ll\/||

Debtor 1 Jol“qe

First Name Niiddle Name

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Alfonso Cepeda
i_ast Name

Case number (if known) 16-24623

Your NONPRIOR|TY Unsecured Claims ~- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.3

 

 

 

 

Annabe||e Carrera
Nonprtority Crediior's Name
cio Holiy Beth Bi|iington, Esq.

Number Street

601 NW 13t CT Fl 18

 

 

Nllami FL 33136
City Staie ZiP Code
Who incurred the debt? Cheok one.

l:| Debtor1 only

|:] Debtor2only

|:l Debtor 1 and Debtor2 only

|:l At least one of the debtors and another

|:] Cheok ifthis claim is for a community debt

ls the claim subject to offset?
|Z[ No
|:| Yes

4.4

 

 

 

 

Annabelie Carrera
Nonpriority Crediior‘s Name
10140 SW 144 CT

Number Street

 

 

 

Nliami FL 33186
City State ZiF‘ Code
Who incurred the debt? Check one.

l;| Deblor 1 only

[:| Debtor 2 only

|;"_'| Debtor1 and Debtor 2 only

[:| At least one of the debtors and another

|_'_'_| Check if this claim is for a community debt n

is the claim subject to offset?
[z[ No
[:| Yes

4.5

 

 

 

 

Banco Popuiar

Nonpricrity Creditor's Name

8523 Commodity Cir # 100
Number Street

 

 

 

Orlando FL 32819
Clty Staie ZlP Code
Who incurred the debt? Cheok one.

l:| Debtor1 only
|:] Debtor2 only
Debtor 1 and Debtor 2 only
|___| At least one of the debtors and another
[:| Cheok if this claim is for a community debt
ls the claim subject to offset'?
|z| No
|:| Yes

Ofticial Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

 

 

Total claim `
$1.00
Last 4 digits of account number l L l__ i
When was the debt incurred?
As of the date you fi|e, the claim is: Cheok all that apply.
|:| Contingent
m Unliquidated
|:| D|sputed
Type of NONPRIOR|TY unsecured claim:
|:| Student loans
[:| Obligat|ons arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
|Z[ Other. Specify
Lawsuit
$5,072.22
Last 4 digits ofaccount number _9_ _2__ _7_ i_
When was the debt incurred?
As of the date you fi|e, the claim is: Cheok all that apply.
[:| Contingent
|:| Unliquidated
m Dlsputed
Type of NONPR|OR|TV unsecured claim:
ij Student loans
ij Ob|igations arising out ot a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit'sharing pians, and other similar debts
121 Other. Specify
Lawsuit
$23.00
Last 4 digits of account number _7_ __gm 1 l_
When was the debt incurred? 11!2012

As of the date you file, the claim is: Check all that apply.

l:l Contingent
m Un|iquidated
l:] Disputed

Type of NONPR|OR|TY unsecured claim:

|:| Student loans

|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Deth to pension or profit-sharing plans, and other similar debts

|'£[ Other. Specify

Credit Card

page 3

CaS€ 16-24623-Ll\/||

Debtor 1 Jorge

First Name Middle Name

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Alfonso Cepeda

Last Name

Case number (if known) 16-24623

mem NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.6

BHG inc
Nonpriority Credltor‘s Name
10234 W State Rd 84

Number Street

 

 

 

 

 

 

Davie FL 33324
City State ZiP Code
Who incurred the debt? Cheok one‘

|:| Debtor1 only

|:] Debtor2 only

|:] Debtor 1 and Debtor 2 only

|:| At least one of the debtors and another

|:| Cheok if this claim is for a community debt
ls the claim subject to offset?

|z[ No
|:|‘ Yes

4.7

 

 

 

 

Bhg-|nc.com
Nonpriorlty Creditor's Name
10234 W State Rd 84

Number Street

 

 

Davie FL 33324
City State ZlP Code

Who incurred the debt? Cheok one.

[:] Debtor1 only

ij Debtor 2 only

[:| Debtor 1 and Debtor 2 only

[:] At least one of the debtors and another

[_:| Check ifthis claim is for a community debt
is the claim subject to offset'?

E[ l\lo
[] Yes

4.8

Cach LLC

Nonpriorlty Credltor‘s Name
Attn: Bky Dept.
Number Street

4340 S. lVlonaco St. 2 Fl

 

 

 

 

 

 

Denvsr co 30237
City State ZiP Code
Who incurred the debt? Cheok one.

|:| Debtor 1 only

. |:i Debtor2 only

|:| Debtor 'l and Debtor 2 only

|:l At least one of the debtors and another

|:] Cheok if this claim is for a community debt
ls the claim subject to offset'?

E] No

[___] Yes

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

Total claim

$69,000.00
Last4digitsofaccountnumber _6__5__§___7“_

When was the debt incurred?

As of the date you file, the claim is: Cheok all that apply.

[:| Contingent
|:\ Unliquidated
|:| Disputed

 

Type of NONPR|OR|TY unsecured claim:

|___| Student loans

|:| Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

|] Debts to pension or profit-sharing plans, and other similar debts

|Z Other. Speclfy

Nliscel|aneous

$0.00
Last4dig|tsofaccountnumber iili

When was the debt incurred?

 

As of the date you file, the claim is: Cheok all that apply.

L__| Contingent
|:| Un|iduidated

|___| Disputed

Type dr NoNPRloelTY unsecured claim:

|:] Student loans

[:] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

m Deth to pension or profit-sharing plans, and other similar debts

|2[ Other. Specliy

Notice Only

$89,000.00
Last4digitsofaccountnumber _3__§_”_(_]____4_

When Was the debt incurred?

As of the date you fiie, the claim is: Cheok all that apply.

ij Contingent
ij Unliduidated
m Disputed

Type of NONPRlOR|TY unsecured claim:
|:| Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:] Debts to pension or profit-sharing plans. and other similar debts
|Z| Other. Speclfy
Collecting for - DECK CAPITAL lNC

page 4

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Case number (if known) 16-24623

 

Debtor 1 Jorge Alfonso Cepeda
First Name lvlldd|e Name Last Name

m Your NONPRIOR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.9

 

 

 

 

Can capital
Nonprionty Creditor's Name
2015 Vaughn Rd NW #500

N u m ber Street

 

 

 

Kennesaw GA 30144
City State ZlP Code
Who incurred the debt? Cheok one.

|:| Debtor1 only

m Debtor 2 only

|:] Debtor1 and Debtor 2 only

|___\ At least one of the debtors and another

|:] Check if this claim is for a community debt
ls the claim subject to offset?

[Z[ No

[:| Yes

4.10

 

 

 

 

Can capital Asset Servicing, inc
Nonpriorlty Creditor's Name

ffkla New Logic Busines Loans
Number Street

2015 Vaughn Rd NW #500

 

 

Kennesaw GA 30144
City State ZlP Ccde
Who incurred the debt? Cheok one.

[:] Debtor1 only

['_'| Debtor 2 only

|`_`\ Debtor 'l and Debtor 2 only

|:| At least one of the debtors and another

|:] Cheok if this claim is for a community debt
ls the claim subject to offset?

|Z] No

m Yes

4.'|1

 

 

 

 

Can capital Asset Servicing, inc
Nonpriorlty Creditor's Name

cio Kurt Thalwitzer

Number Street

 

 

 

Pob 2854
Or|ando FL 32802
City State ZlP Code

Who incurred the debt? Checl< one.

|'_“| Debtor1 only

|:| Debtor2 only

|:] Debtor l and Debtor 2 only

m At least one ot the debtors and another

|:] Cheok if this claim is for a community debt
ls the claim subject to offset?

121 No
|:] Yes

Officia| Form 106EIF

Schedule El'F: Cred|tors Who Have Unsecured Claims

 

Totai claim
$1.00
Last 4 digits of account number _6_ __§_ l _'r'_
When was the debt incurred?
As of the date you filel the claim is: Cheok all that apply.
[:l Contingent
|:| Unllquldated
|:| Disputed
Type of NONPR|OR|T¥ unsecured claim:
|:] Student loans
[`“_“| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:] Debts to pension or profit-sharing plans, and other similar debts
m Other. Speclfy
Loan
$1.00
Last4 digits of account number __C__ L __0_ 1
When Was the debt incurred?
As of the date you fi|e, the claim is: Cheok all that apply.
l] Contingent
|:] Un|iquidated
[:[ Disputed
Type of NONPR|ORIT¥ unsecured claim:
m Student loans
1:[ Obllgatlons arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
]Z[ Other. Specify
Lawsuit
$1.00

Last 4 digits of account number _(_)_ _A_ 0 _'1_”
When was the debt incurred?

As of the date you fi|e, the claim is: Cheok all that apply.

!:] Contingent
]:| Unliquidated

]:} Disputed

Type of NONPR|OR|TY unsecured claim:
m Student loans
|:| Ob|igatlons arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
|z[ Other. Specify
Lawsuit

page 5

CaS€ 16-24623-Ll\/||

Debtor 1 Jorge

First Name ivllddie Name

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Alfonso Cepeda

Last Name

Case number (if known) 16-24623

m Your NONPR|OR|TY Unsecured Claims -- Continuatiorl Page

After listing any entries on this page, number them sequentially from the

previous page.

4.12

 

 

 

 

Capita| One
Nonpriority Creditor's Name
POB 30285

Number Street

 

 

 

Sa|t Lake City UT 84130
City State ZlF' Code
Who incurred the debt? Check one.

|"_'| Debtor1 only

|:| Debtor2 only

|:| Debtor '| and Debtor 2 only

|:| At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?

m No

l___j Yes

4<13

 

 

 

 

Comcast
Nonpriorlty Creditor's Name

1355 Noel Rd #2‘|00

 

 

 

 

Number Street

Dal|as TX 75240
City State ZlP Code
Who incurred the debt? Checl< one.

|:] Debtor1 only

l:] Debtor 2 only

|:] Debtor 1 and Debtor 2 only

m At least one of the debtors and another

|:| Check if this claim is for a community debt

ls the claim subject to offset?
m No
|:l Yes

4.14

 

 

 

 

Convergent Outsoucing, inc
Nonpriorlty Creditor's Name

 

 

 

 

POB 9004

Number Street

Renton WA 980 57
City State ZlP Code
Who incurred the debt? Check one.

!:| Debtor1 only

]:| Debtor 2 only

\:| Debtor1 and Debtor 2 only

[:| At least one of the debtors and another

]:| Check if this claim is for a community debt
ls the claim subject to offset?

|Z[ No

[:| Yes

Officia| Form 106E1'F

Schedule E/F: Creditors Who Have Unsecured Claims

rocan claim '
$448.00
Last 4 digits of account number _6___ _1§__ 2 _9_
When was the debt incurred? 0212015
As of the date you f|le, the claim is: Check all that apply.
l____| Contlngent
l:| Un|iquidated
|:| Disputed
Type of NONPR|ORITY unsecured claim:
[:| Student loans
Obligations arlsing out of a separation agreement or divorce
that you did not report as priority claims
[:| Debts to penslon or profit-sharing plans, and other similar debts
m Other. Speoify
Credit Card
$1.00
Last 4 digits of account number _§_ 1 l ”__7“__
When Was the debt incurred?
As of the date you flle, the claim is: Check all that apply.
I:| Contingent
m Unliquidated
m Dlsputed
Type of NONPR|OR|TY unsecured claim:
|:| Student loans
|:| Obligations arising out of a separation agreement or divorce
that you dld not report as priority claims `
[:| Debts to pension or profit-sharing plansl and other similar debts
m Other, Specify
Cab|e
$262.00

Last 4 digits of account number
When was the debt incurred? 05!2014

As of the date you f||e, the claim is: Check all thatapply.

[| Contingent
m Unliquidated
E| D|sputed

Type of NONPR|ORiTY unsecured claim:
Student loans

[:| Obligatlons arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts
E[ Other. Specify

Col|ecting for -CON|CAST

page 6

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Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
Flrst Name l\rllcldle Name Last Name

 

m Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.15

 

 

 

 

Department of Regu|atory and Economic Re Last 4 digits of account number

Nonpriorlty Creditor's Name
Business Affairs Division
Number Street

601 NW1StCt 18 FL

 

 

N|iami FL 33136
City State ZiP Code
Who incurred the debt? Check one.

|:| Debtor 1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor 2 only

|:| At least one of the debtors and another

|:| Check ifthis claim is for a community debt
ls the claim subject to offset?

[Z| No

|:| Yes

4.16

 

 

 

 

Eastern Financial .lSpace Coast Credit Un
Nonpriority Credltor‘s Name
Pob 419001

Number Street

 

 

 

lVle|bourne FL 32941
City State Z|F’ Code
Who incurred the debt? Check one.

|:| Debtor 1 only
Debtor 2 only
|:| Debtor 1 and Debtor 2 only
|:] At least one of the debtors and another
|:| Check if this claim is for a community debt

is the claim subject to offset?

|§_7] No
[:| Yes

4.17

 

 

 

 

Eastern Financia| F| C
Nonpriorlty Creditor's Name
3700 Lakeside Dr

Number Street

 

 

 

Miramar FL 33027
City State Z|P Code
Who incurred the debt? Check one.

Debtor1 only
|:| Debtor 2 only
|:| Debtor 1 and Debtor 2 only
|:] At least one of the debtors and another
|:| Check if this claim is for a community debt
ls the claim subject to offset?
|§_7[ No
|:] Yes

Officia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Total claim `

$0.00
l ,.2._ -7_ i_
When was the debt incurred?
As of the date you fi|e, the claim is: Check all that apply.

l:] Contingent
[___] Uniiquldated
|:| Disputed

 

Type of NONPR|OR|TY unsecured claim:

|:| Student loans

|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts

|Z[ Other. Specify

Notice Only

$4,528.00
Last 4 digits of account number l_ _i L F_:l___

When was the debt incurred? 09]2009

As of the date you file, the claim is: Cheok all that apply.

[_'_`| Contingent
m Unllquidated
|:| Disputed

Type of NONPR!OR|TY unsecured claim:

[:] Student loans

|`_'i Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|:! Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify

Re po

$2,516.00
Last4dig|tsofaccountnumber L__§___ll_

When was the debt incurred? 04{2010

As of the date you file, the claim is: Check all that apply.
|:| Contingent

[:| Unliquidated

|"_”| Disputed

Type of NONPRIOR|T¥ unsecured claim:

|:] Student loans

|:] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[:| Debts to pension or profit-sharing plans, and other similar debts

|Z[ Other. Specify

Credit Card

page 7

CaS€ 16-24623-Ll\/||

Debtor 1 Jorge

Flrst Name lvilddle Name

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Alfonso Cepeda
Last Name

Case number (if known) 16-24623

mow NONPR|ORIT\’ Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.18

First Data
Nonpriorlty Credltor's Name

1307 Wa|t Whitman Rd

 

 

 

 

 

 

 

 

Number Street

Nlelville NY 11747
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor 1 only

|:| Debtor 2 only

[:| Debtor1 and Debtor 2 only

|:| At least one of the debtors and another

|___| Check if this claim is for a community debt
ls the claim subject to offset?

|Z[ No
|:} Yes

4.19
Grplndg

Nonpriorlty Creditor's Name
112 Paradise Dr

 

 

 

 

 

 

 

 

Number Street

Red Rock OK 74651
City state ZlP code
Who incurred the debt? Cheok one.

[:\ Debtor1 only
m Debtor 2 only
Debtor 1 and Debtor 2 only
|:] At least one of the debtors and another
|:] Check ifthis claim is for a community debt
ls the claim subject to offset?
M No
|:| Yes

4.20

 

 

 

 

Holiy Beth Bi||ington, Esq
Nonpriorlty Creditor's Name

cio Annabe|le Carrera
Number Street

2655 S L.e Jeune Rd #500

 

 

N|iami FL 33134
City State ZlP Code
Who incurred the debt? Check one.

m Debtor1 only

|:| Debtor2 only

|:| Debtor1 and Debtor 2 only

|`_"| At least one of the debtors and another

|:| Check ifthis claim is for a community debt
ls the claim subject to offset?

|2[ No

|:| Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

$2,072.00
Last4d|gits ofaccountnumber 1 _Q_“_ L _0_

When was the debt incurred? 07!_0.11'2015

As of the date you file, the claim is: Check all that apply.

l:| Contingent
m Unllquidated
|:| Disputed

Type of NONPR|OR|TY unsecured claim:

|:| Student loans

[`_*| Obl|gations arising out of a separation agreement cr divorce
that you did not report as priority claims

[:| Debts to pension or profit-sharing plans, and other similar debts

m Other. Speclfy

Lease

$1.00
l..ast4digitsofaccountnumber 3 3 6 _2_

When was the debt incurred? 0§0_8{-2.0_15__

As of the data you fi|e, the claim is: Check all that apply.

E| Contingent
|___] Unliquidated
|:| Disputed

Type of NONPR|OR|TY unsecured claim:
[:| Student loans
1___] Obllgations arising out cfa separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
|?_[ Other. Speclfy
Unsecured

$1.00
Last4digitsofaccountnumber ill__¢t_

When was the debt incurred?

 

As of the date you filel the claim is: Check all that apply.

\:| Contingent
|:| Un|iquidated
\:| Disputed

Type of NONPR|OR|TY unsecured claim:
|:] Student loans
|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[___| Debts to pension or profit-sharing plans, and other similar debts
|Z'[ Other. Specify
Lawsuit

page 8

CaS€ 16-24623-Ll\/||

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Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
Flrst Name Middle Name Last Name

m \’our NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.21

 

 

 

 

Honorab|e Wifredo A. Ferrer
Nonpriorlty Credltor‘s Name
US Attorney for Southern District

 

 

 

 

Number Street

99 NE 4 St

Nl iaml FL 33132
City State Z|P Code
Who incurred the debt? Check one.

[:| Debtor 1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor2 only

|`_“'| At least one of the debtors and another

[:| Check if this claim is for a community debt
is the claim subject to offset?

|Z| No

l:] Yes

4.22

 

 

 

 

internal Revenue Service
Nonpriorlty Creditor's Name
insolvency Support Group
Number Street

STOP 5730 Rool'i'i 165

 

 

Plantation FL 33324
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor1 only

|:| Debtor2 only

|:| Debtor 1 and Debtor 2 only

|:| At least one of the debtors and another

|___] Check if this claim is for a community debt
ls the claim subject to offset?

|?_l No

[:] Yes

4.23

 

 

 

 

internal Revenue Service
Nonpriorlty Creditor‘s Name

Centraiized insolvency Operation
Number Street

 

 

 

POB 7346

Philadelphia PA 19101-7346
City State ZiP Code
Who incurred the debt? Check one.

m Debtor 1 only

m Debtor2 only

m Debtor 1 and Debtor 2 only

[:] At least one of the debtors and another

|:l Check if this claim is for a community debt
ls the claim subject to offset?

w No

ij Yes

Official Form 106E/F

Schedule E!F: Creditors Who Have Unsecured Claims

Total claim
$0.00
Last4 digits of account number l _§_ l _7”_
When was the debt incurred?
As of the date you fiie, the claim is: Check ali that apply.
l:] Contingent
|:| Unliquidated
|:| Disputed
Type of NONPR|ORITV unsecured claim:
[:| Student loans
|:| Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plansl and other similar debts
|Z] Other. Specify
Notice Only
$0.00
Last 4 digits of account number _§___ __5_ __6__ _7_
When was the debt incurred?
As of the date you fiie, the claim is: Check all that apply.
l:| Contingent
[:] Unliquidated
m Disputed
Type of NONPR|ORITY' unsecured claim:
|:[ Student loans
|`_“l Obiigatlons arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
|2'[ Other. Speclfy
Notice Only
$0.00

Last 4 digits of account number l i_ ___6_ l
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

|:| Contingent
|:| Unliquldated
|____| Disputed

Type of NONPR|ORITY unsecured claim:
|:| Student loans
|:] Obllgations arising out of a separation agreement or divorce
that you did not report as priority claims
E] Debts to pension or profit-sharing plans, and other similar debts
|Z[ Other. Specify
Notice Only

page 9

CaS€ 16-24623-Ll\/||

Debtor 1 Jorge

First Name Mlddie Name

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Alfonso Cepeda

Last Name

Case number (if known) 16-24623

m Your NONPRIORIT¥ Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

424

 

 

 

 

invitation Homes
Nonpriorlty Creditor's Name

8050 SW 10 St #1000

 

 

 

 

Number Street

Plantation FL 33324
City Staie ZlP Code
Who incurred the debt? Check one.

|:| Debtor1 only

|:| Debtor2 only

|:| Debtor1 and Debtor2 only

|:| At least one of the debtors and another

g Check if this claim is for a community debt
is the claim subject to offset?

|z[ No
m Yes

4.25

JAC Doctor Corp
Nonpricriiy Credltor's Name
1825 Ponce de Leon B|vd #580

Number Street

 

 

 

 

 

 

 

Cora| Gabies Fl. 33134
City Staie ZlP Code
Who incurred the debt? Check one.

i:l Debtor 1 only
Debtor 2 only
|:| Debtor1 and Debtor2 only
l:] At least one of the debtors and another
|:| Check if this claim is for a community debt

is the claim subject to offset?
|Z[ No
|:| Yes

4.26

 

 

 

 

Jac Doctor Corp
Nonpriorlty Crediior's Name
825 SW 87th Ave Suite l

Number Street

 

 

 

Miami FL 33174
City State ZiP Code
Who incurred the debt? Check one.

|z| Debtor1 only

|:| Debtor 2 only

|:| Debtor1 and Debtor2 only

|:| At least one of the debtors and another

E| Check if this claim is for a community debt
is the claim subject to offset?

lz[ No

m res

Oificia| Form 106E.'F

Schedule E.'F: Creditors Who Have Unsecured Claims

 

: Total claim
$1.00
Last4 digits of account number _6_ __§_ __6_ L
When was the debt incurred?
As of the date you fi|e, the claim is: Check all that apply.
|:] Contingent
|:] Uniiquidated
|:| Disputed
Type of NONPR|OR|TY unsecured claim:
|___| Student loans
ij Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:] Debts to pension or profit-sharing plans. and other similar debts
121 Other. Speclfy
Niisce||aneous
$1.00
Last 4 digits of account number l _Q_ l 5
When was the debt incurred?
As of the date you fi|e, the claim is: Check all that apply.
{:| Contingent
[:| Unliquidated
[:| Disputed
Type of NONPR|ORITY unsecured claim:
[:| Student loans
[:| Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
l:| Debts to pension or profit-sharing pians, and other similar debts
[z[ Other. Specify
Ciosed Business
$0.00

Last 4 digits of account number _1_ i __'_1_“ _3_
When was the debt incurred?

As of the date you file, the claim is: Check all thatapp|y.

[:l Contingent
[:] Uniiquidated
[:] Disputed

 

Type of NONPR|OR|TY unsecured claim:
[____| Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
|z[ Other. Specify
Ciosed Business

page 10

CaS€ 16-24623-Ll\/||

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Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
F|rst Name ivliddle Name Last Name

 

m Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.27
JAC Doctor Corp

Nonpriority Creditor's Name

cio Sayii Cuan, RA

Number Street

1825 Ponce de Leon B|vd # 580

 

 

 

 

 

 

Corai Gables FL 33134
City State ZlP Code
Who incurred the debt? Check one.

l:| Debtor1 only

i:| Debtor 2 only

l___| Debtor 1 and Debtor 2 only

[:| At least one of the debtors and another

\:| Check if this claim is for a community debt
is the claim subject to offset?

|Z[ No

|:] Yes

4.28
JAC Doctor Corp

Nonpriorlty Creditor‘s Name
Veramar

Number Street

6514 Oid Cheney Hwy

 

 

 

 

 

Oriando FL 32807
City state ZlP Code
Who incurred the debt? Check one.

|:] Debtor1 only

m Debtor 2 only

|:i Debtor1 and Debtor2 only

|:j At least one of the debtors and another

[:] Check if this claim is for a community debt
is the claim subject to offset?

[Z[ No
|:| Yes

429

 

 

 

 

Jason S. Peckham, Esq
Nonpriorlty Creditor's Name
11800 Ridge Pkwy #400

Number Street

 

 

 

Broomfieid CO 80021
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor 1 only

|:] Debtor2 only

|:] Debtor 1 and Debtor 2 only

|:] At least one of the debtors and another

[“_‘j Check if this claim is for a community debt
is the claim subject to offset?

|Z[ No

|:] Yes

Officla| Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

: Total claim ` 7

$0.00
Last4digitsofaccountnumber 1_0_1_5,_

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

|:] Contingent
|:| Un|iquidated
|:] Disputed

Type of NONPR|ORiTY unsecured claim:

|:] Student loans

|:| Ob|igatlons arising cut of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts

|z| Other. Speciiy

Ciosed BusinesslNotice Only

$0.00
Last4digitsofaccountnumber W§___O_l_§_

When was the debt incurred?

As of the date you fiie, the claim is: Check all that apply.

|:| Contingent
|:| Unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:
[:| Student loans
l”_'| Obilgations arising out of a separation agreement or divorce
that you did not report as priority claims
l:| Debts to pension or profit-sharing pians, and other slmiiardebts
[z| Other. Specify
Ciosed BusinesslNotice Only

$1.00
Last4digitsofaccountnumber 1_1_:|__“_15_

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

l:] Contingent
|:] Un|iuuidated
|:| Disputed

Type of NONPR|OR|T\’ unsecured claim:
|:| Student loans
|"_`| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Deth to pension or profit-sharing plans, and other similar debts
m Other. Specify
Notice Only

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Case number (if known) 16-24623

 

Debtor 1 Jorge Alfonso Cepeda
First Name Middle Name Last Name

Your NONPR|ORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.30

 

 

 

 

Kurt Eari Thalwitzer, esq
Nonpriorlty Credltor's Name
225 E Robinson St #600

 

 

 

 

Number Street
Orlando FL 32802
City State ZlP Code

Who incurred the debt? Check one.

|:l Debtor1 only

|:| Debtor 2 only

|:] Debtor1 and Debtor 2 only

|:] At least one of the debtors and another

|:| Check if this claim is for a community debt

ls the claim subject to offset?
|Z No

|:| Yes

4.31

 

 

 

 

illiiami international Piastic Surgery
Nonpn°ority Creditor's Name

 

 

 

 

825 SW 87 Ave #l

Number Street

Nliami FL 33174
City State ZlP Code
Who incurred the debt? Check one.

jj Debtor1 only

L__l Debtor20n|y

|:j Debtor1 and Debtor2 only

[:] At least one of the debtors and another

jj Check if this claim is for a community debt
ls the claim subject to offset?

lz{ No
[:] Yes

4.32

On Deck
Nonpriorlty Creditor's Name
901 N Stuart St

 

 

 

 

 

 

 

 

Number Street

Arlington VA 22203
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor1 only

|:| Debtor2 only

[:| Debtor 1 and Debtor2 only

m At least one of the debtors and another

|:| Check if this claim is for a community debt

ls the claim subject to offset?
|Z[ No
m Yes

Officia| Form 106E/F

Schedule E!F: Creditors Who Have Unsecured Claims

Total claim
$1.00
Last4 digits of account number g __A_ _0__ 1_
When was the debt incurred?
As of the date you fi|e, the claim is: Check all that apply.
|:] Contingent
|:] Un|iquidated
|`_’j Disputed
Type of NONPRIOR|TY unsecured claim:
|:| Student loans
|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
["_'[ Debts to pension or profit-sharing plansl and other similar debts
[zj Other, Speciiy
Attorney for - CAN CAP|TAL
$1.00
Last 4 digits ofaccount number __Q__ __t'_,_ l l
When was the debt incurred?
As of the date you tile, the claim is: Check all that apply.
|:| Contingent
|:| Unliquidated
|:| Disputed
Type of NONPRiORlTY unsecured claim:
|:| Student loans
[:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
|Z[ Other. Speciiy
Fictitious Name Ciosed
$1.00

Last 4 digits of account number _§_ l _§_ __5_"
When was the debt incurred?

As of the date you fiie, the claim is: Check all that apply.

I:l Contingent
|___] Unliquidated
|:| Disputed

Type of NONPR|OR|TY unsecured claim:
jj Student loans
1:] Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
[___i Deth to pension or profit-sharing plans, and other similar debts
E] Other. Specify
Business Loan

page 12

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Debtor 1 Jorge

First Name lvliddle Name

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Alfonso Cepeda

Last Name

Case number (if known) 16-24623

M Your NONPR|OR|TY Unsecured Claims ~~» Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.33

 

 

 

 

Space Coast Credit Union
Nonpriority Credltor's Name
POB 419002

Number Street

 

 

Nielbourne FL 32941
City State ZlP Code
Who incurred the debt? Cheok one.

|:] Debtor1 only

|"_'] Debtor2 only

[] Debtor 1 and Debtor2 only

[:] At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?

|Z[ No
|:| Yes

4.34

 

 

 

 

Synchrony Ban k!Care Credit

Nonpriority Creditor's Name

 

 

 

 

Attn: bky

Number Street

POB 1 03104

Rosweii GA 30076
City State ZlP Code

Who incurred the debt? Check one.

j:| Debtor1 only

]:| Debtor2 only

[:| Debtor1 and Debtor 2 only

[:| At least one of the debtors and another

l`_"| Check if this claim is for a community debt
ls the claim subject to offset?

[§_7[ No
[“_`| Yes

4.35

 

 

 

 

Tax Guard, inc
Nonpriority Creditor's Name

11800 Ridge Pkwy #400

 

 

 

 

Number Street

Broomfie|d CO 80021
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor1 only

|:| Debtor2 only

|:| Debtor 1 and Debtor 2 only

|'_`| At least one of the debtors and another

|:| Check if this claim is for a community debt
is the claim subject to offset?

|2[ No

|:| Yes

Officia| Form 106ElF

Schedule El'F: Creditors Who Have Unsecured Claims

Totar claim -
$1.00
Last 4 digits of account number l _5__ l __Z__
When was the debt incurred?
As of the date you tiie, the claim is: Check all that apply.
l___l Contingent
|:| Unliduidated
|:| Disputed
Type of NONPR|OR|TY unsecured claim:
|_'_'] Student loans
|:] Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
|:l Debts to pension or profit-sharing plans, and other similar debts
|Z[ Other. Speolfy
Credit Card
$1.00
Last 4 digits of account number __1_ l l_ l
When was the debt incurred? 12!2009
As of the date you fiie, the claim ls: Check all that apply.
[:] Contingent
|___] Un|iquidated
m Disputed
Type of NONPR|OR|TY unsecured claim:
|:| Student loans
|:| Ob|igations arising out of a separation agreementor divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
|zj Other. Specify
Credit Card
$1.00

Last 4 digits of account number __1_ i __1__ __3_
When was the debt incurred?

As of the date you fiie, the claim is: Check all that apply.

]:] Contingent
i:| Unliquidated
]:] Disputed

Type of NONPR|ORlTY unsecured claim:

jj Student loans

l:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts

|Z| Other. Specify

Notice Only

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CaS€ 16-24623-Ll\/||

Debtor 1 Jorge

First Name Middie Name

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Alfonso Cepeda

Last Name

Case number (it known) 16-24623

 

m Your NONPR|OR|TY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.36

 

 

 

 

Visa Dept Store National Bank
Nonpriority Creditor's Name

 

 

 

 

Attn: Bky

Number Street

POB 8053

lVlason OH 45040
City State ZlP Code
Who incurred the debt? Check one.

j:| Debtor1 only

j:j Debtor 2 only

|:j Debtor1 and Debtor2 only

|:] At least one of the debtors and another

|:1 Check if this claim is for a community debt
is the claim subject to offset?

|_7_] No

m Yes

4.37

 

 

 

 

We|ls Fargo
Nonpriorlty Creditor's Name
100 E F|agler St

 

 

 

 

Number Street
Nliami FL 33131
City Stata ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

|:l Debtor 2 only

|:| Debtor1 and Debtor 2 only

|:] At least one of the debtors and another

|:l Check if this claim is for a community debt
is the ciaim subject to offset?

|Z[ |\lo
m Yes

4.38
Weiis Fargo Bank, NA

Nonprion`ty Creditor's Name
Pob 6995

Number Street

 

 

 

 

 

 

 

Pertiand OR 97228
City State ZlP Code
Who incurred the debt? Check one.

|:| Debtor 1 only

|:j Debtor 2 only

|___j Debtor1 and Debtor2 only

|:| At least one of the debtors and another

|:| Check if this claim is for a community debt
lathe claim subject to offset?

|J No

|:| Yes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Total claim
$321.00
Last 4 digits of account number 1 i i l_
When was the debt incurred? 06[2010
As of the date you filel the claim is: Check all that apply.
[___I Contingent
j:\ Unliquidated
[:| Disputed
Type of NONPRIOR|TY unsecured claim:
jj Student loans
|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:] Deth to pension or profit-sharing plansl and other similar debts
|z| Other. Speciiy
Credit Card
$1.00
Last 4 digits ofaccount number __§__ __§__ l _?_
When was the debt incurred?
As of the date you filer the claim is: Check all that apply.
|:| Contingent
]:| Unliquidated
]:| Disputed
Type of NONPR|OR|TY unsecured claim:
|:| Student loans
[:| Obligations arising out of a separation agreementor divorce
that you did not report as priority claims
|:| Debts to pension or profit-sharing plans, and other similar debts
[_7_[ Other. Speolfy
Credit Card
$303.69

Last 4 digits of account number __9_ 1 _9_ i
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

l:| Contingent
m Unliquidated

j_____| Disputed

Type of NONPR|OR]TY unsecured claim:

|:| Student loans

|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|:| Debts to pension or profit-sharing plans, and other similar debts

|_7_[ Other. Specify

Business Account/Checking Account

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Debtor 1 Jorge
First Name Middie Name

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Alfonso Cepeda Case number (if known) 16-24623
Last Name

List Others to Be Notifled About a Debt That You A|ready Listed

5.

Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.

For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. Similar|y, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

Honorabie Loretta E. Lynch

Name

Attorney Generai of the United States
Number Street

 

 

Dept of Justice #4400

950 Pennsyivania Ave NW

Washingt_on DC 20530
city stale zli= code

 

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one).' [_'] Part 1: Creditors with Priority Unsecured Claims
[:| Part 2: Creditors with Nonpriorlty Unsecured Claims

Last4 digits of account number _§_ l _6_ _7_

Otficial Form 106EIF Schedule ElF: Creditors Who Have Unsecured Claims page 15

Case 16-24623-Li\/|| Doc 10 Filed 11/23/16 Page 28 of 45 obscure osziezzepm

Debtor1 Jorge Alfonso Cepeda casenumber(irknoim) 16-24623
First Name Middie Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

 

 

 

 

6- Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured ciaim.
Total claim
Total claims Ga. Domestic support obligations 6a. $0_00
from Part 1
Bb. Taxes and certain other debts you owe the government Bb. $1:311.00
6c Claims for death or personal injury while you were intoxicated 6c. $0,00
Bd. Other. Add all other priority unsecured ciaims. Write that amount here. 6d. + $0.00
6e. Total. Add lines 6a through 6d. 6d. $1,311.00
Total claim
Total claims 6f. Student loans Gf. $0_(){]
from Part 2
69. Obiigations arising out of a separation agreement or divorce 6g. $0_00
that you did not report as priority claims
6|1. Debts to pension or profit-sharing plans, and other similar 6h. $0.00

debts

6i. Other. Add all other nonpriority unsecured claims. Write that amount here. Gi. + $174,202.91

 

Sj. Total. Add lines tit through 61. 6]. $174,202.91

 

 

 

Official Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims page 16

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`Fiii. in this information to identify your case:; ' -'

    

 

 

Debtor 1 Jorqe Alfonso Cepeda
First Name lvlicld|e Name Last Name

Debtor 2

(Spouse, iffiling) First Name l\.liddle Name LastName

United States Bankruptcy Court for the'. SOUTHERN DlSTR|CT OF FLORlDA

(ti?fal:eor`ltrlnrpber 16-24623 [:l Check if this is an
amended filing

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying
correct information. lt more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top ofany additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?

|:| No. Check this box and file this form Wlth the court with your other sohedules. You have nothing else to report on this form.
|z[ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contractor lease. Then state what each contract or lease
is for {for example, rent, vehicle |ease, cell phone}. See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired |eases.

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1 Lexus Financiai Services 2015 Lexus ES 350

§ame_ L F_ _ l 8 _ 48 Nionths Contratc

N::,|r:)'er e}§?r:et manc'a erv'ces Contract to be ASSUNIED

POB 8026

Cedar Rapids iA 524-09

City state ZlP Code

Officia| Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1

CB_S€ 16-24623-Ll\/|t DOC 10 Fll€d 11/23/16 Page 30 Of 45 11/23/201605:16:30pm

Fill in this information to li`deritify'\_rour. case:-l

  

 

 

 

Debtor1 Jorge Alfonso Cepeda
First Name lvliddle Name Last Name

Debtor 2

(Spouse1 if filing) First Name lvlidd|a Name Last Name

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA

Case number 16-24623
(if known)

 

 

 

Oflicial Form 106H
Schedule H: Your Codebtors

 

|:I Check |f this is an
amended filing

12/15

W
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible lf

two married people are filing together, both are equally responsible for supplying correct |nformation. if more space is

needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this

page. On the top of any Additiona| Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.)

|z[ No
[:| Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Communr'ty property states and territories
include Arizona. California, ldaho, Louisiana, Nevada, New l\)lexico` Puerto Rico, Texas, Washington. and Wisconsin.)

|Z[ No. Go to line 3.

|:| Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

|:| No
|:] Yes
3. ln Co|umn1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only lf that person is a guarantor or cosigner. Make sure you have listed the
creditor on Schedule D (Otficia| Form 106D), Schedule E/F (Off|ciat Form 106EIF), or Schedule G (Official Form 1066). Use
Schedule D, Schedule Er'F, or Schedule G to fill out Co|umn 2.
Co!umn 1.' Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:
Officia| Form 106H Schedule H: ¥our Codebtors

page 1

CB_S€ 16-24623-Ll\/ll DOC 10 Fll€d 11/23/16 Page 31 Ol 45 11/23/2016 05:16:30pm

¢Fiii in this information to identify y"our`cas_ei _

      
        
  
  

Debtor 1 Jorge Alfonso Cepeda

First Name Middle Name Last Name Check if this iS.

 

  
 

Debtor 2
(SpOUSG, if filing) First Name Middle Name Last Name

 

|:| An amended filing

   
      

|:] A supplement showing postpetition
chapter 13 income as of the following date:

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA

  
     
  

 

  

 

 

('_}ase number 16-24623
. ('fk“°W“) iviiiiroorYYYY
Official Form 106|
Schedule l: Your income 12/15

 

Be as complete and accurate as possiblel if two married people are filing together (Debtor1 and Debtor 2), both are equally
responsible for supplying correct information. if you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. lfyou are separated and your spouse is not filing with you, do not include information
about your spouse. if more space is needad, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment
information.

 

 

Debtor 1 Debtor 2 or non-filing spouse

lfyou have more than one
job, attach a separate page Emp|oyment status |f[ Emp|oyed |`Z[ Employed
with information about I:I Not employed |:| Not employed
additional employersl _ _

Occupation Se|f Emp|oyedl'Physiclan Unemployed
include part-time, seasonal,
or se|f»emp|oyed work. Employer's name Omni Orthopedic & Spine Center

 

Occupation may include

Emp|oyer's address 1222 N Unlversity Dr
student or homemaker, if it

 

 

 

 

Number Street Number Street
applies.
P|antation FL 33322
City State le Code City State Zip Code

How long employed there? 3 Yrs

m Give Details About Nlonthly income

Estimate monthly income as of the date you file this form. if you have nothing to report for any iine. write $0 in the space. include your
non-filing spouse unless you are separated

if you cr your non-filing spouse have more than one employer. combine the information for all employers for that person on the lines below. |f
you need more space, attach a separate sheet to this form.

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all 2. $0.00 $0.00
payroll deductions). if not paid monthly, calculate what the monthly wage
would be.
3. Estimate and list monthly overtime pay, 3. + $O.UG $0,00
4. Calculate gross income. Add line 2 + line 3. 4. $0.00 $D.OD

 

 

 

 

 

 

Officia| Form 106| Schedule |: Your income page 1

Case 16-24623-Ll\/|| Doc 10 Filed 11/23/16 Page 32 of 45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/23/'2016 05:16230pm

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name Middle Name Last Name
For Debtor1 For Debtor 2 or
non-filing_spouse
Copy line 4 here ................................................................................. -) 4. $0_00 $0_(]0
5. List all payroll deductions:
5a. Tax, Nledicare, and Soc|al Security deductions 5a. $0.00 $0.00
5b. liiiandatory contributions for retirement plans 5b. $0.00 $0.00
5e. Vo|untary contributions for retirement plans Sc. $0.00 $0.00
5d. Required repayments of retirement fund loans Sd, $0.00 $0.0D 1
5e. insurance 5e. $0.00 $0.00
5f. Domestic support obligations 5f. $0.00 $0.00
Sg. Union dues 5g. $0.00 $0.00
5h. Other deductions.
Specify: _ 5h.+ $0.00 $0.00
6. Add the payroll deductionsl Add lines 5a + 5b + 5c + 5d + 5a + 5f + 6. $0,00 ${)_{}g
59 + 5h.
Ca|cu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $[],00 $(],00
List ali other income regularly received:
8a. Net income from rental property and from operating a Ba. $4,222.83 $0.00
business, profession, or farm
Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.
Sb. interest and dividends 811 $0.00 $0.00
Bc. Family support payments that you, a non-filing spouse, or a Bc. $0_|]0 $0.00
dependent regularly receive
include alimony, spousal support child supportl maintenance
divorce settlement and property settlement
Bd. Unemployment compensation Bd. $0,00 $0,00
Be. Socia| Security Se. $0.00 $0.00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) or any non-
cash assistance that you receiver such as food stamps
(benefits under the Supplemental Nutrition Assistance F'rogram)
or housing subsidies
specify si. $0.00 $0.00
8g. Pension or retirement income SQ- $O.UO $0.00
8h. Other monthly income.
Specifvr Sh-+ $0.00 $0.00
9. Add all other income. Add lines 8a + 8b + 80 + Bd + 8c + Bf + 89 + 8h. 9. $4,222.83 $0.00
10. Caicuiate monthly income. Add line 7 + line 9. 10. $4,222_83 -r- $0_00 = $4,222_83
Add the entries in line 10 for Debtor1 and Debtor 2 or non~filing spousel
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. + $0.00
12. Add the amount in the last column of line 10 to the amount in line 11. `|'he result is the combined monthly 12. $4,222_83
income. Write that amounton the Summary of YourAssets and Liabilities and Certain Statistical informationl _
if it applies. Combined
monthly income
13. Do you expect an increase or decrease within the year after you Fiie this form‘?
lzl NO- None.
l:| Yes. Explain:
Official Form 106| Schedule |.l Your income page 2

CaS€ 16-24623-Ll\/||

Debtor 1 Jorge
First Name l`viidd|e Name

Sa. Attached Statement (Debtor 1)

Gross Nlonthly lncome:
Expense

Total lV|onthly Expenses

Net Nlonth|y lncome:

Officia| Form 106|

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Alfonso Cepeda Case number (if known) 16-24623

Last Name

Self Emp|oyediPhysician

 

$4,222.83

Catego[y Amount
$0.00
$4,222.83

Schedule i: Your income page 3

Case 16-24623-Ll\/|| Doc 10 Filed 11/23/16 Page 34 of 45 mms/2016 osziszsopm

Fill in this information to iden'tify-':your case:--.' .

     

Check if this is:
|‘_‘| An amended filing

|:| A supplement showing postpetition
chapter 13 expenses as of the
following date:

   

Debtor 1 Jorge Alfonso Cepeda
First Name Middle Name Last Name

          
     
 

Debtor 2
(SpOuSe, if filing] First Name iviiddle Name Last Name

 

   
   

United States Bankruptcy Court for the:

Case number 16-24623
(if known)

SOUTHERN DlSTR|CT OF FLOR|DA

   

    

lVl|Vl/DD/YYYY

  
    

 

Official Form 106J
Schedule J: ‘i'our Ex enses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach another sheet to this form. On the top ofany additional pages, write your
name and case number (if known). Answer every question.

' Describe Your Household

 

1. ls this a joint case?

lz[ No. Go to line 2.
|:| Yes. Does Debtor 2 live in a separate househoid?
I:I No
|:| Yes. Debtor 2 must file Official Form 106J-2. Expenses for Separate Household of Debtor 2.
2. Do you have dependents? |:| NO

 

 

 

 

 

 

- » - Dependent‘s relationship to Dependent's Does dependent
Do not list Debtor 1 and |Zl ;O{:Séa:;]"§:;;::;:tfmmauon Debtor 1 or Debtor 2 age live with you?
Debtor 2. """"""""""
Moiher rs Yrs old § $;S
Dc not state the dependentsl N
names l:l 0
|:| Yes
|:| No
]:| Yes
|:| No
i:| Yes
|:| No
]:| Yes
3. Do your expenses include [Zi NO
expenses of people other than L__| Yes

yourself and your dependents?

Estimate Your Ongoing N|onthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as cfa date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule |‘.Yourlncome(OfficialForm106|.) Your expenses

4. The rental or home ownership expenses for your residence. 4. §2,500.00
include first mortgage payments and any rent for the ground or lot.

if not included in line 4:

4a. Real estate taxes l 4a.
4b. Property, homeowner‘s, or renter's insurance 4b.
4c. liome maintenance repair, and upkeep expenses 4c.
4d. iiomeowner's association cr condominium dues 4d.

Ofiicial Form 106J Schedule J: Your Expenses page 1

Debtor 1 JorCie

10.
11.
12.

13.

‘14.
15.

16.

17.

18.

19.

Oflicial Form 106J

CaS€ 16-24623-L|\/||

Alfonso Cepeda

First Name Last Name

lVliddle Name

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Case number (if known)

16-24623

Your expenses

 

 

 

 

 

Additiona| mortgage payments for your residence, such as home equity loans 5.

Ut||ities:

Ba. Electricity, heat, natural gas 6a.

Bb. Water, sewer. garbage collection 6b.

6c. Telephone, cell phone, internatl satellite, and Sc.
cable services

6d. Other. Specify: Bd.

Food and housekeeping supplies 7.

Chi|dcare and children's education costs 8.

Clothing, laundry, and dry cleaning 9.

Personal care products and services 10.

Medical and dental expenses 11.

Transportation. include gas, maintenancel bus or train 12.

fare. Do not include car paymentsl

Entertainment, clubs, recreation, newspapers, 13.

magazines, and books

Charitable contributions and religious donations 14.

lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.

15b. l-lealth insurance 15b.

150. Vehic|e insurance 150.

15d. Other insurancel Specify: 15d.

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.'

Specify: 16.

installment or lease payments:

17a. Car payments for Vehicle 1 17a.

17b. Car payments for Vehic|e 2 17b.

17c. Other. Specify: 17c.

17d. Other. Specify: 17d.

¥our payments of alimony, maintenance, and support that you did not report as 18.

deducted from your pay on line 5, Schedule l, \'our income (Officia| Form 106|).

Other payments you make to support others who do not live with you.

Speoify: 19.

 

Schedule J: ¥our Expenses

 

§240.40
§66.67
§150.00

-...___._,_,_...____.

$535.00

___i§@e
§62.00
§103.00

 

i

$230.00

iiiii

page 2

11/23f2016 05216:30pm

CaS€ 16-24623-L|\/|| DOC 10 Fil€d 11/23/16 Page 36 Of 45 11123/2016 oszlszsopm

 

Debtor 1 Jorqe Alfonso Cepeda
First Name lvliddle Name Last Name
20. Other real property expenses not included in lines 4 or 5 of this form or on

Schedule |: Your income.

Case number (if known) 16-24623

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ZOa. l\/lortgages on other property 20a.
20b. Real estate taxes 20b.
20c. Property. homeowner's, or renter's insurance 200.
20d. |Vlaintenance, repair. and upkeep expenses 20d.
20e. Homeowner‘s association or condominium dues 20e.
21. Other. Specify: 21. +
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22al $3,967.07
22b. Copy line 22 (monthly expenses for Debtor 2), ii any, from Otficial Form 106J-2. 22b.
22c. Add line 22a and 22b. The result is your monthly expenses 22c. §3 967,07
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. §4 222_83
23b. Copy your monthly expenses from line 220 above. 23b. _ §3 967,[)7
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 230. _____M_I_B_
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For examp|e, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?
M No.
|_'_'| YES_ Exp|ain here:
None.
Official Form 106.l Schedule J: ¥our Expenses page 3

Case 16-24623-Ll\/|| DOC 10 Filed 11/23/16 Page 37 Oi 45 11/23/201605:16:31pm

Fill in this information to_ identify your case:-

     
        
  
  

  

Debtor 1 Jorqe Alfonso Cepeda
First Name i\rilddle Name Last Name

 

  
 

Debtor 2
(Spouse, iffi|ing) First Name iviiddle Name LastName

 

   
     
    

United States Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA
16-24623

  
 
 

   

Case number
(if known)

 

Offioial Form 106Deo
Dec|aration About an individual Debtor's Schedules

|:] Check if this is an
amended filing

12."15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules iiilaking a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to

$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§152, 1341,1519, and 3571.

- Sign Beiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

|Z[No

|:| Yes. Name ofperson

 

Attach Bankrupfcy Petitr'on Preparer's Notice,
Declaration, and Signature (Official Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and that they are

true and correct.

 

 

X lsi Jorge Alfonso Cepeda X
Jorge Alfonso Cepeda, Debtor 1 Signature of Debtor 2
Dai€ 11!23!2016 Date
iVlNl l DD l YYYY lVil\/i / DD l YYYY
Officiai Form 106Dec Declaration About an individual Debtor's Schedu|es

page 1

Case 16-24623-Li\/|| DOC 10 Filed 11/23/16 Page 38 of 45 11/23/201605:16;31pm

Fi_l_i inthis information to id`enti'fy'_your_case: `

        
       
  

  

Debtor1 Jorge Alfonso Cepeda
First Name ivliddie Name Last Name

 

  
 

Debtor 2
(SpOUSe, if filing) First Name i\riiddle Name Last Name

 

   
     
  
 

United Staies Bankruptcy Court for the: SOUTHERN DlSTR|CT OF FLOR|DA
16-24623

  
 
 

   

:i}fa:reor\:inmber i:| Check if this is an

amended filing

 

Offioiai Form 107 l
Statement of Financia| Affairs for individuals Fi|ing for Bankruptcy 04!16
w

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Give Detaiis About Your Nlarital Status and Where Vou Lived Before

1. What is your current marital status?
|Z |\llarried
|:] Not married

2. Durlng the last 3 years, have you lived anywhere other than where you live now'?
E?_[ No

|:| Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?

(Communr'ty property states and territories include Arizona, Californla, ldaho, Louisiana, Nevada, New lVlexico, Puerto Rlco, Texas.
Washington, and Wisconsin.)

MNO

|:| Yes, i\ilake sure you fill out Schedule i-i.' Your Codebiors (Officiai Form 106H).

Official Form 107 Statement of Financia| Affairs for individuals Fiiing for Bankruptcy page 1

Case 16-24623-Li\/|| Doc 10 Filed 11/23/16 Page 39 of 45

 

Debtor1 Jorge Alfonso Cepeda
FirstName iviiddle Name Last Name

m Exp|ain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and ail businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

|:| No
|Z[ Yes. Fi|| in the details.

From January 1 of the current year until
the date you filed for bankruptcy:

For the last calendar year:

{January1 to December 31, 2015 )
YYYY

Fcr the calendar year before that:

(Januaryi to December 31, 2014 )
YYYY

Debtor 1

Sources of income
Check ali that apply.

[Z[ Wages. commissions
bonuses, tips

j:| Operating a business

|z[ Wages, commissions
bonuses, tips

[:| Operating a business

|Z[ Wages, commissions,
bonuses, tips

|:| Operating a business

Case number (if known)

Debtor 2

Gross income
(before deductions
and exclusions

$43,648.50 l:]

|`_`i

$21,503.00 |:l

|:|

$7,632.00 I:I

|:|

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child supporl; Social Security;

unemployment and other public benefit payments; pensions; rental inoome; interest dividends; mone

and gambling and lottery winnings.
Debtor 1.

Sources of income
Check ali that apply.

Wages, commissions
bonuses, tips

Operating a business

Wages, commissions,
bonuses, tips

Operating a business

Wages. commissionsl
bonuses, tips

Operating a business

List each source and the gross income from each source separatelyl Do not include income that you listed in line 4.

[z[i\|o

[:| Yes. Fill in the details.

Official Form 107

Statement of Financia| Affairs for individuals Filing for Bankruptcy

16-24623

1'|/'23/2016 05:16!31 pin

Gross income
(before deductions
and exclusions

_.-......_._,,

y collected from lawsuits; royalties;
if you are in a joint case and you have income that you received together, list it only once under

page 2

Case 16-24623-Ll\/|| DOC 10 Filed 11/23/16 Page 40 Of 45 11/23/2016 05:16:31pm

Debtor1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name Middie Name Last Name

m List Certain Payments You ili|acle Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

m No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined |n 11 U.S.C. § 101(8) as
"incurred by an individual primarily for a personai. family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more'?
[:| No. Go to line 7.

Yes. List below each creditor tc whom ou paid a total of $6,425* or more in one or more payments and the
Y
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and allmony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment
121 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

|Z[ No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor Do not include payments for domestic support obligations, such as child support and aiimony.
Aiso, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in controi, or owner of 20% or more of their voting securities; and any managing

agent. including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and alimony,

|Z[No

|:| ‘(es. List all payments to an insider.

Within ‘l year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

include payments on debts guaranteed or cosigned by an insider.

E[No

[:| Yes. List all payments that benefited an insider.

 

identify Lega| Actions, Repossessions, and Foreciosures

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding'?

List ali such matters, including personal injury cases, small claims actions, divorces1 collection suits. paternity actions. support or custody
modificationsl and contract disputes

m NO
|2| Yes. Fill in the details.

 

 

 

 

Case title Nature of the case Court or agency Status of the case
CAN CAP|TAL ASSET SERV. vs Lawsuit Dade County Courthouse EI Pendmg
JAC DOCTOR, ET AL. Court Name
73 West Fiagier st m On appeal
Number Street
Case number ‘|6-774(]-(';A_01 i___] Conc|uded
N|iami FL 33130
City State ZlP Code

Otficial Form 107 Statement of F|nanciai Affairs for individuals Fiilng for Bankruptcy page 3

Case 16-24623-Li\/|| DOC 10 Filed 11/23/16 Page 41 of 45 11/23/201605;16:3ipm

 

 

 

 

 

 

 

 

 

 

Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16~24623
First Name iviiddle Name l.asi Name

Case title Nature of the case Court or agency Status of the case

ANNABELLE CARRERA vs JAC Lawsuit Daoie County Courthouse Pendm

DocToR coRP court Name |:l 9
73 West Flag|er St m On appeal
Number Street

Case number 2015-9274 [:] Conc|uded
lilllami FL 33130
City State ZlP Code

Case title Nature of the case Court or agency Status of the case

2015-2 |H2 Borrower, LP vs. Lawsuit South Dade Justice Center Pendm

Jorge Alfonso Cepeda court Name M 9
Number Street

Case number 2016-006775.CC-26 |;] Conciuded
N|iami FL 33189
City State Z|F’ Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or |evied?

Check all that apply and fill in the details below.

m No. Gotoline11.
|:| Yes. Fill in the information below.

1'|. lMthin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

E[No

jj Yes. Fiiiinihe details

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

M No
[___] Yes

List certain cuts and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNO

m Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity‘?

|Zji\io

|:[ Yes. Fill in the details for each gift or contributionl

Ofticiai Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 4

Case 16-24623-Ll\/|| DOC 10 Flled 11/23/16 Page 42 of 45 iles/2016 oszie;eipm

 

Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name i\iliddie Name Last Name

 

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

|Z[No

|:| ¥es. Fill in the details.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers. or credit counseling agencies for services required for your bankruptcyl

jj No
|_7_[ Yes. Fill in the details.

 

 

Description and value of any property transferred Date payment Amount of
Law Offices of Patrick L. Cordero, P.A. PlLlS $310-00 Fian Fee$- °r transfer Was payment
Person Who Was Paid made
198 NW 37th Avenue 09;‘30!201 6 $2,000.00

 

Number Street

 

 

N|iami FL 33125
City State ZlP Code

 

Emai| or website address

 

Person Who iViade the Payment, iiNot Ycu

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

|ZNO

[:] Yes. Fill in the details.
18. Within 2 years before you filed for bankruptcy, did you selll trade, or otherwise transfer any property to anyone. other than
property transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

|__7_'[No

|____\ Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.)

|z[ No
j:| Yes. Fill in the details.

Officiai Form 107 Statement of Financia| Affairs for individuals Fi|ing for Bankruptcy page 5

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Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name Middie Name Last Name

List Certain Financiai Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, ciosed, sold, moved, or transferred?

include checking, savings. money market, or other financial accounts; certificates of deposit; shares in banks, credit unions. brokerage
houses, pension funds, cooperatives associations, and other financial institutions

MNO

|:j Yes. Fill in the detailsl

21. Do you now have. cr did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other vaiuabies'?

|z[ No
|:| Yes. Fill in the details

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

|Z[No

[:| \’es. Fill in the detai|s.

identify Property You Holci or Controi for Someone E|se

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

|z| No
|"_“| Yes. Fill in the details.

- 1'Part\10:' Give Detaiis About Environmentai information

For the purpose of Part 10, the following definitions appiy:

l Environmentai' law means any federal, state, or local statute or regulation concerning pollution, contamination, releases cf

hazardous or toxic substance, wastes, or material into the air, iand, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materiai.

l Site means any iocation, facility, or property as defined under any environmental |aw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, poiiutant. contaminant, or similar item.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
|aw?

m No
]:| Yes. Fill in the details.

Official Form 107 Statement of F|nanciai Affairs for individuals Fl|lng for Bankruptcy page 6

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Debtor 1 Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name ivliddle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

|z]No

|:] Yes. Fill in the detai|s.

26. Have you been a party in any judicial or administrative proceeding under any environmental iaw‘? include settlements and
orders.

|Z[ No
|:\ Yes. Fill in the details.

m Give Detai|s About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

|z[ A sole proprietor or self-employed in a trade, prcfession. or other activity. either full-time or part-time
jj A member of a limited liability company iLi_C) or limited liability partnership (LLP)

|:] A partner in a partnership

m An officer. director, or managing executive of a corporation

j:| An owner of at least 5% of the voting or equity securities of a corporation

[:| No. None cf the above applies. Gc to Part12.
iz[ Yes. Check ali that apply above and fill in the details below for each business.

Describe the nature of the business Employer identification number

JAC Doctor Corp plastic Surge,-y C|injc Do not include Soc|al Security number or lT|N.
Business Name

1825 Ponce de Leon B|vd

Name of accountant or bookkeeper
Number Street

 

 

 

Veramar Dates business existed
Suite 580
From 11/21i2013 To 03)‘07)'2016
Corai Gabies FL 33134
City State ZlP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include
all financial institutions, creditors, or other parties.

MNO

|`_`| Yes. Fill in the details below.

Officiai Form 107 Statement of Financiai Affairs for individuals Fi|ing for Bankruptcy page 7

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Debtor t Jorge Alfonso Cepeda Case number (if known) 16-24623
First Name iviiddle Name Last Name

Part1`2: Sign Beiow

i have read the answers on this Statement ofFinanclalAffai'rs and any attachments, and l declare under penalty of perjury
that answers are true and correct. i understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C.§§152,1341,1519,and 3571.

 

 

X lsi Jorge Alfonso Cepeda X
Jorge Alfonso Cepeda, Debtor 1 Signature of Debtor 2
Date 11/231'2016 Date

Did you attach additional pages to Your Statement of Financiai Affar'rs for individuals Fiiing for Bankruptcy {Official Form 107)?

|z[ No

|:| Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

E[ No

[:| Yes. Name of person Attach the Bankruptcy Petifion Preparer's Notice,

 

Declaraiion, and Signature (Otficial Form 119).

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